      Case 4:20-cv-01871 Document 18 Filed on 10/06/20 in TXSD Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                         October 07, 2020
                           UNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

RADLEY BRADFORD,                                §
                                                §
         Plaintiff,                             §
VS.                                             § CIVIL ACTION NO. 4:20-CV-1871
                                                §
                                                §
CAPITAL ONE, N.A.,
                                                §
                                                §
         Defendant.

                                   ORDER OF DISMISSAL

       In accordance with the Stipulation of Dismissal, this action is DISMISSED with

prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.
                       6th day of October, 2020, at Houston, Texas.
       SIGNED on this ______



                                                 ___________________________________
                                                        VANESSA D. GILMORE
                                                  UNITED STATES DISTRICT JUDGE
